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8                               UNITED STATES DISTRICT COURT

9                              EASTERN DISTRICT OF CALIFORNIA

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11    CALIFORNIA CHAMBER OF                           No. 2:19-cv-02019-MCE-JDP
      COMMERCE,
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                       Plaintiff,
13                                                    ORDER
             v.
14
      XAVIER BECERRA,
15
                       Defendant.
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17
            It appearing to the undersigned, the judge to whom this case is presently
18
     assigned for all purposes, that the provisions of 28 U.S.C. § 455 mandate the
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     disqualification of the undersigned;
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            IT IS HEREBY ORDERED that:
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            1.     The undersigned recuses himself as the judge to whom this case is
22
     assigned;
23
            2.     All currently scheduled dates in the above-captioned action are VACATED;
24
     and;
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     ///
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     ///
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     ///
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                                                  1
     Case 2:19-cv-02019-DAD-JDP Document 177 Filed 09/29/21 Page 2 of 2


1          3.     The Clerk of the Court is directed to randomly reassign this case to another

2    judge for all further proceedings, making appropriate adjustments in the assignments of

3    civil cases to compensate for such reassignment.

4          IT IS SO ORDERED.

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6    Dated: September 29, 2021

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